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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

WHITMAN-WALKER CLINIC, Inc. et.
al.
(Plaintiffs)

V. 1:20-cv-01630-JEB

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES et. al.
(Defendants)

LEAVE TO FILE AN AMICUS BRIEF IN SUPPORT OF THE DEFENDANTS BY
(1) DE FACTO ATTORNEYS GENERAL, (2) SPECIAL FORCES OF LIBERTY, (3)
THE ALLIANCE OF BLACK AND WHITE EX-GAYS AND EX-TRANS, (4) CENTER
FOR GARDEN STATE FAMILIES, (5) COALITION OF DOCTORS DEFENDING
REPARATIVE THERAPY, (6) THE COALITION OF MULTI-RACIAL PASTORS, (7)
WARRIORS FOR CHRIST

NOW COMES De Facto Attorneys General, Special Forces Of Liberty, An Alliance Of
Ex-gays and Ex-trans, Center For Garden State Families, Coalition of Doctors Defending
Reparative Therapy, the Coalition of Multi-Racial Pastors, and Warriors For Christ pursuant to
FRCP 7 and FRAP 29 seeking leave to file an Amicus brief in support of the Defendants.
“Although there is no formal rule governing the filing of amicus curiae briefs, district courts
possess the inherent authority to grant or refuse leave to amicus parties.” Georgia Aquarium, Inc.
v. Pritzker, 135 F. Supp. 3d 1280 (N.D. Ga. 2015). “A district court exercises wide discretion in
deciding whether to grant or deny leave to file an amicus brief.” United States v. Board of
County Commissioners of the County of Otero, 184 F.Supp. 3d 1097 (D.N.M. 2015). See also:

Brief of an Amicus Curiae FRAP Rule 29;; Pleadings Allowed; Form of Motions and Other

   

Papers FRCP Rule 7. 7

     

  
  

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The interest of the Amici in the outcome of this action are manifested in their attached

sworn statements.’ The Plaintiffs assert that there is no controlling Constitutional legal basis

 

1 De Facto Attorneys General consists, primarily of former Judge Advocate Generals, assistant
State Attorneys General, and assistant U.S. Attorneys. De Facto Attorneys General takes on
political hot topics that are sometimes too complex for the different aspects of DOJ to handle
alone. The paramount mission of De Facto Altorneys General is to uphold the Constiluuion of
the United States and the rule of law, preventing other groups like the Plaintiffs in this case from
twisting the Constitution. See Penkoski v. Bowser, 1:20-cv-01519 (D.D.C. June 10, 2020). Chris
Sevier is the founder of De Facto Attorneys General.

Special Forces Of Liberty is a group of highspeed Soldiers who author laws that parallel
Judaeo-Christian principles in an effort to maximize human flourishing. Some of the relevant
legislation that SFOL has authored that is relevant to this action is the Disentanglement Act; the
Life Appropriation Act; the Elevated Marriage Act; and the Stop Social Media Censorship Act.
(See www.disentanglementact.com; www.lifeappropriationact.com;
www.stopsocialmediacensorshipact.com). Sergeant Major John Gunter Jr. and Lieutenant Chris
Sevier are the founders of Special Forces Of Liberty.

An Alliance Of Ex-Gays and Ex-trans consists of former self-identified homosexuals and
self-identified transvestites who were once leaders in the LGBTQ cult. They now seek to expose
the horrors and lies of the dangerous LGBTQ cult and its religious ideology, while giving voice
to voiceless ex-gays and ex-trans individuals. See Declaration of Alliance of Black and White
Ex-Gays and Ex-Trans; see declarations of Quinlan, Goodspeed, Cothran, and Harley.

The Center For Garden State Families’ mission is to protect and promote faith, freedom and
the natural family, in culture and public policy. https://www.gardenstatefamilies.org/. See the
declaration of Quinlan. Greg Quinlan is the founder of Garden State Families.

The Coalition Of Doctors Defending Reparative Therapy consists of doctors who attest that
there is no such thing as a gay gene and that the idea that sexual orientation is predicated on
immutability is a lie. See the declaration of Dr. Tara King.

Coalition Of Multi-Racial Pastors consists of pastors, religious experts, theologians, and
licensed ministers who testify that Secular Humanism is a religion and that the LGBTQ cult is a
denominational sect that is inseparably linked to that religion. See the Declaration of the
Coalition of Multi-Racial Pastors.

Warriors For Christ consists of Christians who have been viciously persecuted in the LGBTQ
cult in the wake of the government’s endorsement of their dangerous and phony tolerance
agenda. https://www.wfcchurch.org/. See the declaration of Pastor Penkoski, Lisa Boucher, and
Christian Resistance. Pastor Rich Penkoski is the founder of Warriors For Christ.
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supporting the 2020 Trump Rule,” which modified the 2016 Obama Rule. The Plaintiffs base
their case on the decision in Bostock v. Clayton Cty., Ga.,590 U.S. ___, 2020 WL 3146686
(2020) and accuse HHS of modifying the 2016 Obama Rule based on single Federal district
court decision out of Texas.

The Amici can help this Court find that the Establishment Clause of the First Amendment
is the underlying legal basis that supports HHS decision to replace the 2016 Obama Rule with
the 2020 Trump Rule. The Amici can help the Court find that:

(1) Secular Humanism is a religion for the purposes of the First Amendment

Establishment Clause;’ that

(2) sexual orientation orthodoxy and gender ideology are doctrines, dogmas, and

mythologies that are inseparably linked to the religion of Secular Humanism, as

advocated by the LGBTQ cult;* and that

 

2 “The [2020] Trump] Rule eliminates the prohibitions on gender identity and sexual orientation
discrimination in these regulations [85 Fed. Reg. at 37, 219-21, 37,247-48 (to be codified at 45
C.F.R. §§ 147.104(e), 155.120(c)(1)Gi), 155.220G)(2)(i), 156.200(e), & 156.1230(b)(2) 42
C.F.R. §§ 438.3(d)(4), 438.206 (c)(2), and 440.262, 42 C.F.R. § 438.3(d)(4), 42 C.F.R. §
460.98(b)(3)]” all for the same reason - the Establishment Clause of the First Amendment
requires that sexual orientation and gender identity be removed because their inclusion shows
respect, endorsement, and favoritism towards the LGBTQ Secular Humanist religion.

3 Torcaso v. Watkins, 367 U.S. 488, 495 n. 11 (1961); United States v. Seeger, 380 U.S. 163
(1965); United States v. Kauten, 133 F.2d 703 (2d Cir. 1943); School District of A Bington
Township, Pa. v. Schempp, 374 U.S. 203, 225 (1963); Malnak v. Yogi, 592 F.2d 197, 200-15 (3d
Cir.1979); Theriault v. Silber, 547 F.2d 1279, 1281 (Sth Cir. 1977); Thomas v. Review Bd., 450
U.S. 707, 714, 101 S.Ct. 1425, 67 L.Ed.2d 624 (1981); Lindell v. McCallum, 352 F.3d 1107,
1110 (7th Cir. 2003); Real Alternatives, Inc. v. Se'y Dep 't of Health & Human Ser, 150 F. Supp.
3d 419, 2017 WL3324690 (3d Cir. Aug. 4, 2017); and Wells v. City and County of Denver, 257
F.3d 1132, 1148 (10th Cir. 2001). (See also the Decl. of Multi-Racial Pastors { 2-3)

4 See Decl. Alliance of Black and White Ex-Gays and Ex-Trans. § 7; Decl. Pastor Penkoski 4
1-34; Decl. Lisa Boucher §{ 1-10; Decl. Christian Resistance {J 1-21; Decl. Dr. Cretella 4] 1-20;
Decl. Dr. King {ff 1-20.
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(3) the 2016 Obama Rule must be replaced because it violates the Establishment Clause
by failing the Lemon Test? in its making and enforcement in that it (a) consists of a
non-secular sham that lacks a primary purpose that (b) cultivates an indefensible legal
weapon against non-observers of the religion of Secular Humanism and (c) servers to
excessively entangle the government with the religion of Secular Humanism.
In short, the Amici will help the Court see that it should sua sponte dismiss the Plaintiffs’ case for
lacking subject matter jurisdiction. The Court should grant any FRCP 12(b)(6) motion filed by
the Defendants because the Plaintiffs fail to state a claim upon which relief can be granted and
because the Plaintiffs manage to provide the very legal bases for why their complaint should be

dismissed with prejudice. For these reasons and others leave should be granted.

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5 To pass muster under the Establishment Clause, a practice must satisfy the Lemon test, pursuant
to which it must: (1) have a valid secular purpose; (2) not have the effect of advancing,
endorsing, or inhibiting religion; and (3) not foster excessive entanglement with religion.” See
Lemon v. Kurtzman, 403 U.S. 602 (1971). Government action “violates the Establishment

Clause if it fails to satisfy any of these prongs.” Edwards v. Aguillard, 482 U.S. 578, 583 (1987);
Agostini v. Felton, 521 U.S, 203, 218 (1997)
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